 Fill in this information to identify the case:
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1              Gayle L. Koblish
                       __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                                   Middle
 United States Bankruptcy Court for the: ______________________ District of Pennsylvania
                                                                            __________
                                                                             (State)
 Case number           1:23-bk-00065-HWV



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                           12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



                   Members 1st Federal Credit Union
 Name of creditor: _______________________________________                                                              6
                                                                                           Court claim no. (if known): __________________

 Last 4 digits of any number you use to
 identify the debtor’s account:
                                                           4 ____
                                                          ____ 9 ____
                                                                  0 ____
                                                                      4

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
 X No
 
  Yes. Date of the last notice: ____/____/_____

 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

      Description                                                        Dates incurred                                     Amount

  1. Late charges                                                        _________________________________            (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                     _________________________________            (2)   $ __________
  3. Attorney fees                                                       _________________________________            (3)   $ __________
  4. Filing fees and court costs                                         _________________________________            (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                      _________________________________            (5)   $ __________
  6. Appraisal/Broker’s price opinion fees                               _________________________________            (6)   $ __________
  7. Property inspection fees                                            _________________________________            (7)   $ __________
  8. Tax advances (non-escrow)                                           _________________________________            (8)   $ __________
  9. Insurance advances (non-escrow)                                     _________________________________            (9)   $ __________
 10. Property preservation expenses. Specify:_______________             _________________________________           (10)   $ __________
                     Propery Registration Fee
 11. Other. Specify:____________________________________                   09/08/2023
                                                                         _________________________________           (11)      300.00
                                                                                                                            $ __________
                     Property Re-Registration Fee
 12. Other. Specify:____________________________________                   09/08/2023
                                                                         _________________________________           (12)        75.00
                                                                                                                            $ __________
 13. Other. Specify:____________________________________                 _________________________________           (13)   $ __________
 14. Other. Specify:____________________________________                 _________________________________           (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


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Debtor 1         Gayle L. Koblish
             _______________________________________________________                                            1:20-bk-00065-HWV
                                                                                           Case number (if known) _____________________________________
             First Name       Middle Name               Last Name




 Part 2:    Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

   I am the creditor.
  X I am the creditor’s authorized agent.
  

  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



            __________________________________________________
                 /s/ Matthew G. Brushwood
                 Signature
                                                                                           Date    11 17 2023
                                                                                                   ____/_____/________




 Print:          Matthew G. Brushwood, Esquire
                 _________________________________________________________                 Title   Attorney    for Creditor
                                                                                                   ___________________________
                 First Name                      Middle Name        Last Name



 Company          Barley Snyder LLP
                 _________________________________________________________



 Address         2755 Century Blvd
                 _________________________________________________________
                 Number                 Street
                 Wyomissing, PA 19610
                 ___________________________________________________
                 City                                               State       ZIP Code




 Contact phone     610 _____–
                 (______) 898 _________
                              7165                                                                 mbrushwood@barley.com
                                                                                           Email ________________________




Official Form 410S2                                Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 2

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